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 Rev(5/20i6)
                                         UM TED STATES DISTRIW COURT
                                         SOUTH ER N D ISTR ICT OF FLO M A

                                      APPEAR AN CE BO ND :

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UM TED STATES OF AM ERICA
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    4)f''E).
           A ,q''W '> u ùi> d
1,theundersigneddefendantand1orwe,theundersignedsureties,jointlyandseverallyacknowledgethatweandour
personalrepresentati
                   ves,jointlyandseverally,areboundtopaytheUni
                                                             td tatqsofAmrica,thesumof /
$              &                                V                                                            ,
                                          STANDA ND COND ITIO NS 0 F BO ND

The conditions ofthisbond are thatthe defendant:
       1. Shallappearbefore this courtand atsuch otherplacesasthe defendantmay Le required to appear,in
accordance with any and al1orders and directions relating to the defendant's appearance in this case,including
appearanceforviolation ofacondition ofthedefendant'srelease asmaybeordered ornotified bythiscourtorany other
United StatesD istrictCourtto which the defendantmay be held to answerorthe causetransferred.The defendantis
toabidebyanyjudgmenten  'teredinsuchmatterbysurrenderingtoselweanysentenceimposedandobeyinganyorder
ordirectionincormectionwithsuchjudgment.Thisisacontinuingbond,includinganyproceeding onappealorreview,
w hich shallremain in fullforce and efectuntilsuch tim e asthe courtshallorderotherwise.
      2.M ay notatanytim e,forany reason whatever,leavetheSouthennD istrictofFlorida orotherD istrictto which
thecasemay beremoved ortransfen' edaherhe orshehasappeared in suchDistrictpursuanttotheconditionsofthis
bond,withoutfrstobtainingwrittenpermissio
                                        'n9om thecourt,rxceptthatadefendantorderedremovedortransfen'       ed
to anotherdistrictm aytravelto thatdistrictasrequired for courtappearancesand trialpreparationupon w ritten notice
to theClerk ofthis coul't orthecourtto which thecasehasbeen removed ortransferred. The Southern Districtof
Florida consistsofthefollowing counties:M onroe,M iam i-Dade,Brow ard,Palm Beach,M artin'     ,St.Lucie,
Indian River, Okeechobee, and Highlands.
           3.M aynotchangehisorherpresentaddressasrecorded on thisbond w ithoutpriorperm ission in writing gom
 tàecourt.
          4. Jsrequked to appearin coul'tata1ltim es as requked by notice given bythe courtor i
                                                                                              tsclerk to the address
  on thisbond orin open courtorto the address aschanged byperm ission from the court. Thedefendant isrequired to
  ascertain from the Clerk of Courtor defense counselthetim e and place ofallscheduled proceedingson the case. In
 no eventmay a defendantassume thathisorhercasehasbeen dismissed unlessthecourthasentered an orderof
 disrnissal.
         5. The defendant m ust cooperate w ith law enforcementoë cers in the collection of a DNA sample ifthe
 collection isrequired by42 U .S.C.Section 14135a.

               6. Shallnotcornmitany actin violation ofstate orfederallaws,
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                                                                          DEFEN D AN T:
                                       v&         Mto                     CASE N UM B ER :     (8+ 5246 -JJ0
                                &% * #                                    PAGE TW O

                                                    SPECTAI. CO ND ITIO N S OF B O ND
    Inadditi to compliancewithtv previouslystatedcond-itionàofbond,thedefendantmustcomplywiththespecial
    cond'
       a.'Su
           n ce
              hecked bel
               nderal1 ow
                      pa   : tsand traveldocuments,ifany,to thePretrialSenicesOm ce and notobtain any travel
                        sspor
                  docum ents during the pendency ofthe case'
          .
                  ReporttoPretrialServicçsasfollows: asdirected or             timels)awcckfnpersonand          timels)
                   a ueEkby telephone;
          .
                  Subm itto substance abuse testing and/ortreatm ent;
    Z d. Re*ain9om excessiveuseofalcohol,oranyuseofanarcoticdrugorothercontrolledpbstance,asdefmed
                   i
                   nsection102oftheControlledSubstancesAct(21U.S.C.j802),wi
                                                                          thoutaprescriptionbyalicensed medical
                   practitioner;
    f--le. Participateinmentalhealthassessmentand/ortreatment;
    r-lL Participateandundergoasexofensespecificevaluationandtreatment;
    f--lg. M aintainoractivelyseekfull-timeemployment;
    f-'lh. M aintainorbeginaneducationplprogram;
    f--li. Avoidallcontactwithvictimsoforwitnessestothecrimescharged,exceptthroughcounsel;
        J. Refainfrorflpossessingaflrearm,destructivedeviceorotherdangerousweapons',           '.rj v..w ..g
           Noneofthesignatoriesmaysell,pledge,mortgage,hypothecate,enyumbe lr,etç.,an ra pro.
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            ntilthebond isdischarged,orotherwise medified bytheCourt; l& o . 1 OB        S 1V l
              .


                  M ay notvisitconnm ercialtransportationestablishm ept:airports, seaport/marinas, commercialbus terminals,
          .

        train Jlrz/f/rzd,etc.,'
    Z m.No  accesstotheinternetviaanytypeofcormectivitydevice(i.e.computers,pda'
                                                                               s,cellularphones,/-k''Jj,and
                   follow instructionsasoutlined in the agreem entw aiverprovided to you by PretrialServices;
    r-ln. HUM E CONFINEM ENT PROG                               Thedefendantshallparticipate in one ofthefollowing home
                   confmementprogram componentsandabidebyal1therequkementsofthepropam whichZ willnoto:
                   Z willincludeelectronicmonitoringorotherlocation verificationsystem,paid forby the
                   defeudantbased upon hiq/her Jlf/ffyt
                                                      opayZ orpaid forbyPretrialServicesZ .
                                                            .

                   Z Curfew:Youarerestrictedtcyourresidenceeverydayâom           to        crasdizectedby
                               the Court.
                   Z HomeDdeution:Youarerestrictedtoyourresidenceatalltimesexceptfor:Z medicalneedsor
                       treaoment,I
                                 Z courtappearances,(7)attorneyvisitsorcourtorderedobligations,andZ
                               other                    '                                                            .
                   HAT,FW AY HOUSE PLA CEM ENT The defendant shlllreside at a halfway house or cornrnunity
                   corrections center and abide byalltherulesand reguiations oftheprogram .
                   Youarerestrictedtothehalfwayhouseatalltimesexceptfor:Z employmentfZ èducation;
                   Z religiousservices;Z medical,substanceabuse,ormentalhealth treatment;(1attorney
            visits;Z courtappearances;Z courtordered obligations; Z reportingtoPre'tHalServices;
            andZ other
        Z P h'lay trave1toandâom:
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                                                      ,andmtlstnotifyPretrialServicesoftravelplans
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                                                               DEFENDANT: Y< f'W sf
                                                                                  W x 9@ *
                                                               CASENUMBER: téM )3O : -Y D
                                                               PAGE TH REE

                    PENA LTV S AND SA NCTIO NS A PPLIC A RLE TO D EFENDU T

       V iolation ofanyofthe foregoing conditionsofrelease mayzesultin theirnm ediate issuahce ofa warrantforthe
defendant'sarrestaarevocationofrelease,anorderofdetention,asprovidedin18U.S.C,j3148,forfeitureofanybail
posted,and aprosecution forcontemptasprovidedin 18U.S.C.j401,which could resuitin apossibletenn of
imprisonmentora fme.
        The cornm iss;
                     lon ofany offense while on pretrialreleasem ay result in an additionalsentenceupon conviction
for such offense to a term ofim prisonmentofnot more than ten years,T the ofknse is a felony;or a term of
im prisonment ofnotmore than one year,ifthe offense is a m isdem eanor. This sentence shallbe consecutiveto any
othersentence and m ustbe imposed in addition to thesentence received forthe olenseitself

      Title 18U.S.C.j l503makes ita criminaloffensepunishablebyup to fiveyearsofimprisonmentand a
$250,000fnetointimidateorattempttointimidateawitness,jurororofcerofthecourt;18U.S.C.51510makesit
a criminaloffense punishable by up to five years of imprisonment and a $250,000 fme to obstruct a criminal
investigation;18 U.S.C.j 1512 m akes ita criminaloFense punishable by up to ten yearsofW prisonmentand a
$250,000 fmeto tamperwith awitness,victim orinformant;and 18U.S.C.j l513 makesitacriminalofense
punishableby up toten yearsofimprisonmentand a$250,000fme to retaliateagainstawitness,victim orinformant,
ortllrraten to do so.
       Itisa criminaloFenseunder18U.S.C.j3146,ifafterhaving been released,thedefendantknowinglyfailsto
appearasrequked by the conditions ofrelease,orto surrenderforthe service of sentence pursuantto a courtorder.
lfthedefendantwasreleasedinconnectionwithachargeoj orwhileawaitingsentence,surrenderfortheserviceof
a sentence,orappealorcertiorariaûerconviction for:
              an ofknsepunishable by death,life imprisonm ent,orim prisonmentfor aterm pffd een yearsorm ore
              thedefendantshallbefmednotmorethan$250,900 orimprisonedfornotmorethantenyears,orboth;
              an ofrense punishable by imprisonmentforaterm offive yearsorm ore,butlessthan Gfeen years,the
              defendantshàllbefmed notmorethan$250,000 orimprisonedfornotmorethanfveyears,orboth;
              any otherfelony,thedefendantshallbefmed notmorethan $250,000orimprisonednotm
                                                                                         'orethantwo
              years,or both;
              amisdemeanor,the defendantshallbefmednotmorethan $100,000 orimprisoned notmorethan one
               year,orboth.
       A term of imprisonment im posed for failure to appear or surrender shallbe consecutive to the sentence of
i
m prisonmentforanyotheroflknse. In addition,afailureto appearm ay resultin theforfeitureofanybailposted,w hich
meansthatthe defendantw illbeobligated to paythe fullam ountofthe bond,which may be enfbrced by a11applicable
law softhe U nited States.
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                                                                           PA GE F O U R

                            PENALTIES AND SANCTIONS APPLICABLE TO SUR ETIES
Violationbytheiefendantcfanyoftheforegoingconditionsofreleasewillresultinanimm ediateobligationbythesuretyofsuretiesto
paythe'fullamoun'
                tofthebond.ForfeitureofthebondforanybreachofoneormoreconditionsmayLedeclaredbyajudicialoffcerofany
UnitedStatesDistrictCour'
                        thavingcognizanceoftheaboveentitledm atteratthetim ezfsuchbreach,and ifthebondisforfeitedandthe
forfeitureisnotsetasideorremittedsjudgmentmaybeentereduponmotioninsuchUnitedVtatejDistrictCourtagainsteachsuretyjointly
and severallyfortheaznountofthebond,togetherwith interestani costs,andexecutionmaybeissuedand paymentSecured asprovidedby
theFederalRulesofCrizninalProcedureandotherlawsoftheUnitedStates.

                                                      SIGNA TUQES
Ihavecarefully read and Iunderstandthisentireappearancebond consistingoffourpages,orithasbeenread to me,and,ifnecessary,
translatedintol'
               nynativelanguage,andIkncw thatlam oàligatedbylawtocomplywitha11ofthetermsofthisLond.Ipromiseto obey a11
conditionsofthisbond,to appearin cour'tasrequired,and to sunznderforservice of any sentence im posed.1 am aware ofthepenalties
andsanctionsoutlinedinthisboniforviolationsofthetermsofthebond.                                    '
If lam an agentacting fororon behalfofa corporate surety,1furtherrepresentthatIarrla duly authorized agent'
                                                                                                          forthe corporate
surety and àavefullpowerto executethis bond in the am ountstated.

N O TE :Page 5 ofthisform M U ST be com pleted before the bond w illbe accepted forSling.

                                                            DEFENDFNT
Signedthis           day of                   20    lçat              -
                                                                      '                         .s-lo-ïd '

Signed and ackno ed ed b rem .                                DEFENDANT:(Sinaturz)                           /'   .-'
                                                                                                                    -'
                                                                                                                     -
W ITNESS:                                                     City:                                    State:

                                                        CORPORATE SURETY

Signed this          day eî                   .20      at                         .           .Florida

SUREW :                                                       AGENT:(Signature)
Cil'
   .                          State'
                                   .                          PRINT NAO :

                                                       INDIVIDUAL SURETIES
Signedthis2ldayof
          '

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                                                       -ç'lorida Si.gnedthis    dayof              .
                                                                                                   ,20       t           ,Florida

IURE'I'Y:(Signa re)                                             SURETY':(Signature)
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Signedthls        dayof            ,20.      at             ,Florida Signedthis       dayof      ,20.        at     ,Florida

SURETY:(Signature)                                             SURE'I'
                                                                     Y:(Signature)
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